09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 1 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 2 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 3 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 4 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 5 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 6 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 7 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 8 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 9 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 10 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 11 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 12 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 13 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 14 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 15 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 16 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 17 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 18 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 19 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 20 of 21
09-05357-swr   Doc 1   Filed 07/09/09   Entered 07/09/09 13:42:45   Page 21 of 21
